            Case 8:15-bk-10966-MGW                   Doc 328        Filed 05/28/19         Page 1 of 22




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         (TAMPA DIVISION)
                                        www.flmb.uscourts.gov

In re:
                                                                           CASE NO. 8:15-BK-10966-MGW
THE HEALTH SUPPORT NETWORK,                                                CHAPTER 7
INC.,
      Debtor.
                                                        /

In re:                                                                     CASE NO. 8:15-BK-10969-MGW
                                                                           CHAPTER 7
BRIDES AGAINST BREAST CANCER,
LLC,
     Debtor.
                                                        /

    MOTION OF TRUSTEE: (i) TO APPROVE SETTLEMENT AND COMPROMISE OF
         CONTROVERSY WITH KERKERING, BARBERIO & CO. AND FOR
      AUTHORIZATION: AND (ii) TO APPROVE AND PAY 35% CONTINGENCY
           FEE TO THE TRUSTEE’S SPECIAL LITIGATION COUNSEL1


                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within twenty-one (21)
days from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail. If you object to the relief requested in this paper,
you must file your response with the Clerk of the Court at Sam M. Gibbons U.S. Courthouse,
801 N. Florida Avenue, Fifth Floor, Suite 555, Tampa, Florida 33602, and serve a copy on the
movant’s attorney, David C. Cimo, Esq., Cimo Mazer Mark PLLC, 100 SE 2nd Street, Suite
3650, Miami, FL 33131, David S. Jennis, Jennis Law Firm, 606 East Madison Street, Tampa,
Florida 33602 and any other appropriate persons within the time allowed.

        If you file and serve a response within the time permitted, the Court will either schedule
and notify you of a hearing, or may consider the response and grant or deny the relief requested
without a hearing. If you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.


1
   If the settlement that is the subject of this Motion is approved, the Trustee proposes to allocate $3,000.00 of the
gross proceeds to the estate of Debtor Brides Against Breast Cancer, LLC based upon her expectation that the
allocation of such amount will result in the unsecured creditors of that estate receiving substantial distributions, while
creditors of the estate of Debtor Health Support Network, Inc. will receive significantly less on a percentage basis.
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       Beth Ann Scharrer, Successor Trustee (the “Trustee”) of and for the bankruptcy estates of

the above-captioned Debtors (the “Debtors” or “HSN”), pursuant to Fed. R. Bankr. P. 9019 and

11 U.S.C. §105, files this Motion: (i) to Approve Settlement and Compromise between the Trustee

and Kerkering, Barberio & Co. (“Kerkering”); and (ii) to Approve and Pay 35% Contingency Fee

to the Trustee’s Special Litigation Counsel (the “Motion”), and says:

                              Facts Supporting Relief Requested

       1.      On October 30, 2015 (the “Petition Date”), the Debtors filed voluntary Chapter 7

petitions under Title 11 of the United States Code in the United States Bankruptcy Court for the

Middle District of Florida (the “Bankruptcy Court”).

       2.      The Trustee is the duly appointed and acting fiduciary of the bankruptcy estates of

the Debtors, with the sole and full power, authority, and standing to prosecute, compromise, or

otherwise resolve, among other things, all claims against Kerkering for and on behalf of estates of

the Debtors

       3.      The Trustee and her counsel independently conducted an investigation into, inter

alia, potential claims against Kerkering involving alleged professional negligence (the “Kerkering

Claims”) and the avoidance and recovery of certain alleged avoidable transfers against Kerkering

(the “Chapter 5 Claims”)

       4.      The Parties agreed, and the Bankruptcy Court ordered the Parties, to mediate the

Kerkering Claims and Chapter 5 Claims in Tampa, Florida.

       5.      On November 28, 2018, the Trustee and Kerkering participated in the mediation

conference in connection with the Kerkering Claims and the Chapter 5 Claims (the “Mediation”),

and continued settlement discussions thereafter.

       6.      The Trustee and Kerkering reached a settlement relating to the Kerkering Claims,

the Chapter 5 Claims, and any and all other claims the Trustee has authority to pursue against
{00322855.DOCX;6}                            2
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Kerkering, with such settlement being subject to Bankruptcy Court approval pursuant to Federal

Rule of Bankruptcy Procedure 9019 (“FRBP 9019”).

                                           The Settlement

        7.       As a result of the Parties’ efforts, and without Kerkering admitting any fault or

liability whatsoever to the Trustee, and to avoid the potential costs and uncertainties attendant

to litigation, expressed their respective desire to settle the Kerkering Claims and the Chapter

5 Claims amicably and, to this end, entered into a stipulation of settlement (the “Settlement

Agreement”) memorializing the settlement (the “Settlement”) reached between and among

the Parties, a copy of which is attached as Exhibit A to this Motion. The material terms of

the Settlement Agreement provide, inter alia, as follows2:

             •   As full and final settlement of the Kerkering Claims, Kerkering shall cause

                 $195,000.00 to be paid to the Trustee (“Settlement Payment”).

             •   In exchange for the full and final settlement of the Chapter 5 Claims, Kerkering

                 is contributing towards the Settlement Payment, and effective upon entry of the

                 Final Settlement Order (as the term is defined below), Kerkering shall be

                 deemed to waive any claims it may have against the bankruptcy estate, the

                 Debtors, and and/or the Trustee.

             •   The Settlement Agreement is subject to and conditioned upon the entry of an order

                 by the Bankruptcy Court approving the Settlement Agreement and same becoming

                 final and non-appeal (the “Final Settlement Order”).

             •   The mutual releases of claims between and among the Trustee, Kerkering, and its

                 professional liability insurance carrier in a form mutually acceptable to the Parties.


2
  Unless otherwise noted, all capitalized terms herein shall have the meaning as ascribed to them in the
Settlement Agreement
{00322855.DOCX;6}                              3
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       8.        This Motion and the notice of hearing thereon are being noticed to all creditors and

parties in interest pursuant to Federal Rule of Bankruptcy Procedure 9019.

                                Request for Approval of Settlement

       9.        Bankruptcy Rule 9019 (a) provides that:

                 On motion by the trustee and after notice and a hearing, the court
                 may approve a compromise or settlement. Notice shall be given to
                 creditors, the United States trustee, debtor, and indenture trustees
                 as provided in Rule 2002 and to any other entity as the court may
                 direct.

       10.       Rule 9019(a) gives the Court broad authority in approving compromises or

settlements. In re Bicoastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993) (citing In re

Charter Co., 72 B.R. 70 (Bankr. M.D. Fla. 1987)). The determination of whether to approve a

compromise is a matter committed to the sound discretion of the bankruptcy judge. River City

v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602-603 (5th Cir. 1980). In exercising

this discretion, the court should approve the proposed settlement if it is in the best interests of

the estate. Id.

       11.       The applicable test for approving a settlement is whether the compromise falls

below the lowest point in the range of reasonableness. See In re Arrow Air, Inc., 85 B.R. 886

(Bankr. S.D. Fla. 1988); In re Martin, 91 F.3d 389 (3d Cir. 1996); In re Teltronics Services, Inc.,

762 F.2d 185, 189 (2d Cir. 1985); In re W.T. Grant Company, 699 F.2d 599, 608 (2d Cir. 1983).

       12.       The Eleventh Circuit provides that when a bankruptcy court decides whether to

approve or disapprove a settlement, it must consider:

             •   The probability of success in the litigation;

             •   The difficulties, if any, to be encountered in the matter of collection;

             •   The complexity of the litigation involved, and the expense, inconvenience and
                 delay necessarily attending it; and

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              •   The paramount interest of the creditors and a proper deference to their reasonable
                  view in the premises.

In re Justice Oaks II, Ltd, 898 F.2d 1544 (11th Cir. 1990).

        13.       Applying the above legal authorities to the instant case, the Trustee believes that

the proposed Settlement should be approved, as it is fair, reasonable, in the best interests of the

estates and their creditors, and otherwise satisfies each of the applicable factors and legal principles

governing the approval of settlements.

    A. The Probability of Success in the Litigation

        14.       When weighing the success of the Settlement Agreement against the probability of

success if the Kerkering Claims and the Chapter 5 Claims were commenced or otherwise litigated

by the Trustee against Kerkering, it is clear that payment of the Settlement Amount pursuant to

the Settlement Agreement will avoid the difficulty and expenses the Trustee would incur if the

Kerkering Claims were required to be litigated. Kerkering has advised of its intention to assert

and prosecute significant defenses to the claims, and has denied any and all liability to the

bankruptcy estates whatsoever. While the Trustee believes her claims against Kerkering are

meritorious and the defenses and denials could be overcome, she recognizes that the risks

associated with litigation, and the possibility of an adverse judgment, no matter how remote, could

materially impact, and could substantially delay, the Trustee’s efforts to make a material

distribution to creditors of the estates. Moreover, had litigation been commenced or otherwise

continued, a summary judgment in favor of any Party would likely have been remote based upon

significant material facts claimed to be in dispute, thereby requiring that the matter be resolved by

and through trials to be conducted by this Court and/or the District Court based upon jury trial

demands.




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   B. The Difficulties, if Any, to Be Encountered in the Matter of Collection

       15.     If the Settlement Agreement is not approved, the Trustee anticipates significant

difficulty in the matter of collection, in addition to the litigation risks described in paragraph 14

above. Kerkering is a professional services corporation and the Trustee could face significant

challenges in collecting on any judgment that may be ultimately obtained. By way of example

only, if an adverse judgment was obtained against Kerkering, the individual professionals who

generate revenue would be free to leave or practice with an alternative entity. Moreover, while

Kerkering is insured in respect of professional liability claims, the insurance policy is a wasting

limits policy, which means defense costs are deducted dollar-for-dollar. Therefore, if the Trustee

were required to file suit, there could be a risk that no policy proceeds would be remaining after

payment of defense costs associated with a protracted jury trial and resolution of all appeals.

   C. The Complexity of the Litigation Involved, and the Expense, Inconvenience and Delay
      Necessarily Attending It

       16.     The filing and initiation of a lawsuit followed by continued litigation would involve

significant expense, delays, and inconvenience to the Parties. The underlying issues are complex

and would be expensive to pursue because they would require, among other tasks, substantial

expert witness testimony at trial at great expense to the estates. In addition, the facts and

circumstances that form the basis for the Trustee’s claims against Kerkering are extensive and

would require, among other things, testimony from many fact witnesses. The Trustee believes that

litigation against Kerkering would be very costly for the estates because of, among other things,

the large number of witnesses that would be required to testify at trial and the expense of expert

witnesses.




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    D. The Paramount Interest of Creditors with Proper Deference to Their Reasonable
       Views

        17.     Lastly, the Settlement reached at the mediation conference and memorialized in the

Settlement Agreement is in the best interests of the estates and their creditors. As stated above,

the filing and initiation of a lawsuit and the continuation of pending litigation would be costly and

uncertain. The Trustee believes that the expense, inconvenience, and delay that would be

necessitated by proceeding against Kerkering would be adverse to the best interests of the

creditors, particularly in light of the facts of the case, the amount at issue, and the Settlement

reached with Kerkering. Therefore, it is the position of the Trustee and her counsel that, based on

careful evaluation, the Settlement is in the best interests of the bankruptcy estates and their

creditors.

                               Request to Approve and Authorize
                              Payment of Earned Contingency Fee

        18.     By Order dated November 19, 2017 (Doc. No. 231), this Court approved

modification of the employment terms of special litigation counsel Genovese, Joblove & Battista,

P.A., as special litigation counsel (“GJB”), and general counsel David Jennis, P.A. d/b/a the Jennis

Law Firm (“JLF”) to jointly prosecute professional liability claims on a 35% contingency fee, with

75% to be allocated to GJB and 25% to JLF. Thereafter, by Order dated April 20, 2018 (Doc.

No. 290), Cimo Mazer Mark, PLLC (“CMM”) was approved as special litigation counsel,

replacing GJB, under the same terms that GJB had been employed.

        19.     If the Settlement Agreement is approved, CMM, GJB, JLF, and the Trustee request

that the Court approve and authorize payment of the earned 35% contingency fee totaling

$68,250.00 to be paid to such law firms from the gross proceeds of the Settlement, with $51,187.50

to be paid collectively to CMM and GJB to be allocated by separate order of the Court without



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further motion, and $17,062.50 to be allocated to JLF, which sum may be paid forthwith to JLF

after the Trustee’s receipt of the gross proceeds of the Settlement.

       WHEREFORE, the Trustee requests the entry of an Order (i) authorizing and approving

the terms of the Settlement Agreement; (ii) authorizing the approval and payment of the

$68,250.00 contingency fee award to CMM, GJB, and JLF to be allocated as provided in paragraph

19 above and paid in accordance with the previously entered retention orders of this Court; (iii)

authorizing the Trustee to take such actions as may be necessary and appropriate to implement the

terms of the Settlement Agreement; and (iv) granting any other relief the Court deems appropriate.

       Submitted this 28th day of May 2019.


                                              JENNIS LAW FIRM
                                              Attorneys for the Trustee
                                              606 E. Madison Street
                                              Tampa, Florida 33602
                                              Tel: (813) 229-2800

                                              By: /s/ David S. Jennis
                                                      David S. Jennis, Esq.
                                                      Fla. Bar. No. 7755940
                                                      Email: djennis@jennislaw.com


                                              -and-


                                              CIMO MAZER MARK PLLC
                                              Special Litigation
                                              Counsel for the Trustee
                                              100 S.E. Second Street, Suite 3650
                                              Miami, FL 33131
                                              Tel: (305) 374-6480
                                              Fax: (305) 374-6488

                                              By: /s/ David C. Cimo
                                                    David C. Cimo, Esq.
                                                    Fla. Bar. No. 775400
                                                    Email: dcimo@cmmlawgroup.com


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via CM/ECF,

and/or first-class postage-prepaid U.S. Mail to the parties listed on the attached Claimant Mailing

Matrix, pursuant to Local Rule 2002-1(c) on this 28th day of May 2019.


                                             By:    /s/ David S. Jennis
                                                   David S. Jennis




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                              Case 8:15-bk-10966-MGW      Doc 328           Filed 05/28/19   Page 10 of 22
Label Matrix for local noticing              American InfoSource LP as agent for              Aqua Plumbing Services, Inc.
113A-8                                       Verizon                                          8283 Vico Court
Case 8:15-bk-10966-MGW                       PO Box 248838                                    Sarasota, FL 34240-7844
Middle District of Florida                   Oklahoma City, OK 73124-8838
Tampa
Tue May 28 14:55:57 EDT 2019
BMO Harris Bank, N.A.                        Burton Skip Sack                                 Capital One Bank (USA), N.A.
c/o Thomas H. Dart, Esq.                     415 L’Ambiance Drive, PH-D                       PO Box 71083
1515 Ringling Blvd., #700                    Longboat Key, Florida 34228-3916                 Charlotte, NC 28272-1083
Sarasota, FL 34236-6720


Carl Ritter                                  Chloe and Isabel                                 Deborah Massingale
c/o Mark D. Hildreth, Esq.                   140 Drayton Circle                               8574 Bush River Road
Shumaker Loop & Kendrick, LLP                Brunswick, GA 31525-4855                         Newberry, SC 29108-8959
Post Office Box 49948
Sarasota, FL 34230-6948

Florida Power and Light                      It Works                                         Jani King Cleaners
General Mail Facility                        424 Whitewing Circle                             2469 Sunset Point Rd.
Miami, FL 33188-0001                         Minneola, FL 34715-9239                          Clearwater, FL 33765-1526



Kaysha Weiner Photography                    Kerkering Barberio & Co.                         Lisa Schmit
1856 Pomona Avenue, Unit 2B                  1990 Main St.                                    121 6th St SW
Costa Mesa, CA 92627-9510                    Sarasota, FL 34236-8000                          Delano, MN 55328-8273



Mary Kay                                     Mary Kay                                         Michael’s on East - Catering & Ballroom
11996 Conway St                              5354 Canvasback Rd                               1259 S. Tamiami Trail, #1259B
Spring Hill, FL 34609-9155                   Baines, WA 98230-6302                            Sarasota, FL 34239-2219



Origami Owl                                  Palm Printing                                    Penske Truck Leasing Co, L.P.
22786 W. Cocopah St                          6001-A Business Blvd.                            Penske Truck Leasing Co., L.P.
Buckeye, AZ 85326-7102                       Sarasota, FL 34240-8410                          PO Box 563
                                                                                              Reading, PA 19603-0563


Pitney Bowes Global Financial Services       Renee VanPatten Photography                      Sarasota County Tax Collector
Pitney Bowes Inc                             34 Lakeshore Dr . Apt. 2C                        101 S. Washington Blvd.
27 Waterview Drive                           Watervliet, NY 12189-2908                        Sarasota, FL 34236-6993
Shelton, CT 06484-4361


Stan Heinz                                   Touch of Southern Weddings & Events              U.S. Bank Equipment Finance
6727 63rd Terrace E.                         190 E Plantation Circle                          1310 Madrid St.
Bradenton, FL 34203-8043                     Reidville, NC 27320-8359                         Marshall, MN 56258-4099



Ward Group PR, Inc.                          End of Label Matrix
2962 Trustee Avenue                          Mailable recipients       27
Sarasota, FL 34243-2549                      Bypassed recipients        0
                                             Total                     27
                               Case 8:15-bk-10966-MGW      Doc 328          Filed 05/28/19   Page 11 of 22
Label Matrix for local noticing               Animus-Art Photography                          Bentley & Bruning, P.A.
113A-8                                        202 Pearl St., Apt 2                            783 S. Orange Ave., #220
Case 8:15-bk-10969-MGW                        Summerville, MA 02145-3918                      Sarasota, FL 34236-4702
Middle District of Florida
Tampa
Tue May 28 14:59:59 EDT 2019
Black Pearl Escape                            Brett Kelly                                     Destinations HD
4915 Devane Court                             Just Picture It                                 11516 W 109th Street
High Point, NC 27265-8202                     117 Merrifield Dr.                              Overland Park, KS 66210-1236
                                              Greenville, SC 29615-3340


Eternal Knot Weddings                         It Works                                        It Works
14127 81st Pl NE                              405 5th ave SW                                  424 Whitewing Circle
Kirkland, WA 98034-5077                       Childersburg, AL 35044-1907                     Minneloa, FL 34715-9239



It Works                                      Jani King Cleaners                              Jennifer Kaesberg
820 Marshall Lane                             2469 Sunset Point Rd.                           6316 Ashwell Drive
Sanders, KY 41083-9775                        Clearwater, FL 33765-1526                       St. Louis MO 63123-1501



Jennifer Schmitt                              Jewelry in Candles                              Kaysha Weiner Photography
165 Ulmer Drive                               7755 Sunny Dale Court                           1856 Pomona Avenue, Unit 2B
Lino Lakes MN 55014-1207                      Fort Worth, TX 76137-5461                       Costa Mesa, CA 92627-9510



Mary Kay                                      Melissa List                                    Origami Owl
5354 Canvasback Rd                            6729 Wynfield Terrace Drive                     7070 Berrywood Lane
Baines, WA 98230-6302                         St Louis, MO 63129-3973                         Jacksonville, FL 32277-2607



Pure Romance                                  Renee Contreras                                 Robert Yutzy
5232 S. Grand Blvd                            6507 N 86 Pl                                    17005 Gaines Road
St. Louis, MO 63111-1615                      Scottsdale, AZ 85250-5730                       Broad Run VA 20137-2248



Simply Perfect Java                           Southern Elegance Events                        Studio D Photography
1030 Pine Branch Drive                        2011 Wrangler Dr                                2604 America Eva.
Weston, FL 33326-2841                         Brandon, FL 33511-2112                          Jacksonville, FL 32250-8519



Thunderkiss Entertainment                     Tupperware                                      Ward Group PR, Inc.
203 Long Ln                                   96093 Barnwell Cir                              2962 Trustee Avenue
York Haven, PA 17370-9747                     Fernandina Beach, FL 32034-1658                 Sarasota FL 34243-2549



End of Label Matrix
Mailable recipients       26
Bypassed recipients        0
Total                     26
        Case 8:15-bk-10966-MGW   Doc 328   Filed 05/28/19   Page 12 of 22




                     Exhibit A




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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  (TAMPA DIVISION)
                                 www.flmb.uscourts.gov

In re:
                                                               CASE NO. 8:15-BK-10966-MGW
THE HEALTH SUPPORT NETWORK,                                    CHAPTER 7
INC.,

         Debtor.
                                             /

In re:                                                         CASE NO. 8:15-BK-10969-MGW
                                                               CHAPTER 7
BRIDES AGAINST BREAST CANCER,
LLC,

         Debtor.
                                             /

                              SETTLEMENT AGREEMENT

         This Settlement Agreement (hereinafter the “Settlement Agreement”) is made

effective as of this 14th day of May 2019 (the “Effective Date”), and is entered into by and

between: (i) BETH ANN SCHARRER, Chapter 7 (the “Trustee”) of and for the bankruptcy

estates of the above-captioned Debtors (collectively, the “Debtors” or “HSN”); and (ii)

KERKERING, BARBERIO & CO. (“Kerkering”) (the Trustee and Kerkering are sometimes

collectively referred to herein as the “Parties” or individually referred to as “Party”).

         WHEREAS, On October 30, 2015 (the “Petition Date”), the Debtors filed voluntary

Chapter 7 petitions under Title 11 of the United States Code in the United States Bankruptcy Court

for the Middle District of Florida (the “Bankruptcy Court”);

         WHEREAS, the Trustee is the duly appointed and acting fiduciary of the bankruptcy

estates of the Debtors, with the sole and full power, authority, and standing to prosecute,

compromise, or otherwise resolve, among other things, all claims against Kerkering for and on


                                       Page 1 of 10
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behalf of estates of the Debtors;

       WHEREAS, the Trustee and her counsel independently conducted an investigation into,

inter alia, potential claims against Kerkering involving alleged professional negligence (the

“Kerkering Claims”) and the avoidance and recovery of certain alleged avoidable transfers against

Kerkering (the “Chapter 5 Claims”);

       WHEREAS, Kerkering denied any and all liability regarding the Kerkering Claims and the

Chapter 5 Claims;

       WHERAS, the Parties agreed, and the Bankruptcy Court ordered the Parties, to mediate

the Kerkering Claims and Chapter 5 Claims in Tampa, Florida.

       WHEREAS, on November 28, 2018, the Trustee and Kerkering participated in the

mediation conference in connection with the Kerkering Claims and the Chapter 5 Claims (the

“Mediation”), and continued settlement discussions in connection with and as part of the

Mediation thereafter;

       WHEREAS, the Trustee and Kerkering reached a settlement relating to the Kerkering

Claims, the Chapter 5 Claims, and any and all other claims the Trustee has authority to pursue

against Kerkering, with such settlement being subject to Bankruptcy Court approval pursuant to

Federal Rule of Bankruptcy Procedure 9019 (“FRBP 9019”);

       WHEREAS, as a result of the efforts of the Parties prior to, during, and subsequent to

the Mediation, the Trustee (on behalf of the estates), and Kerkering, without Kerkering

admitting any fault or liability whatsoever to the Trustee, and to avoid the potential costs and

uncertainties attendant to litigation, desire to settle amicably the Kerkering Claims, the Chapter

5 Claims, and all other possible claims against Kerkering that could have been brought by the

estates; and



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       WHEREAS, the Parties wish to set forth the terms of their settlement in this Settlement

Agreement.

       NOW, THEREFORE, in consideration of the premises aforesaid and the mutual

covenants contained herein, and for other good and valuable consideration, the receipt and

sufficiency of which is acknowledged, the Parties stipulate and agree as follows:

       1.     Recitals Incorporated. The recitals and prefatory phrases and paragraphs set

forth above are hereby incorporated in full and made a part of this Settlement Agreement.

       2.     Settlement Payment. As full and final settlement of the Kerkering Claims, the

Chapter 5 Claims, and any and all other claims that could have been brought by the estates,

the total sum of One Hundred Ninety Five Thousand and 00/100 Dollars) ($195,000.00 US)

(the “Settlement Payment”) shall be paid by Kerkering. The Settlement Payment shall be due

in a lump sum within thirty (30) days from the date of the entry of a Final Settlement Order

(as the term is defined below). Kerkering shall make the Settlement Payment in the form of a

check for good and collectable funds made payable to “Beth Ann Scharrer, Trustee of the

Health Support Network Bankruptcy Estate”, which check shall be tendered to the Trustee’s

counsel, Dave Jennis, Esq. Jennis Law Firm, 606 East Madison Street, Tampa, FL 33602 via

Federal Express or via wire transfer based on written instructions as directed by the Trustee.

       3.     Waiver of Claims. In exchange for the full and final settlement and effective

upon entry of the Final Settlement Order (as the term is defined below), Kerkering shall be

deemed to waive any and all claims it has or may have against the bankruptcy estates, the

Debtors, and the Trustee.

       4.     No Admissions. Entry into this Settlement Agreement and the settlement of

the Kerkering Claims and Chapter 5 Claims shall not be deemed an admission of any liability



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or acknowledgement of a breach of any professional standard by any party hereto. In fact,

any liability is strictly denied by the parties, who have entered into this settlement based

upon economic and other considerations.

       5.     Bankruptcy Court Approval and Final Settlement Order. This Settlement

Agreement is subject to and conditioned upon the entry of a final, non-appealable order by

the Bankruptcy Court approving the Settlement Agreement, with the Bankruptcy Court

reserving jurisdiction regarding the interpretation, effectuation, and enforcement of the terms

of this Settlement Agreement (the “Final Settlement Order”). The Trustee shall file a motion

in the Bankruptcy Court seeking the approval of this Settlement Agreement (the “Settlement

Motion”). The Parties and their counsel shall use their best efforts to cause the Bankruptcy

Court to approve this Settlement Agreement and to effectuate the settlement of the stated

terms and conditions set forth herein.

       6.     Prior Agreed Standstill and Tolling Agreement Deadline Extended: By the

execution of this Settlement Agreement, the Parties agree that current deadline for the Trustee

to file claims under those certain initial and amended Standstill and Tolling Agreements

previously entered into between the Parties, which tolling currently expires on or about May

31, 2019, is hereby extended until the later of: (i) 90 days from the Effective Date of this

Settlement Agreement; (ii) or 30 days after the entry of an order on the Settlement Motion, so

as to allow sufficient time for the Trustee to obtain Bankruptcy Court approval.

       7.     Frustration of Purpose. None of the Parties shall take any action to intentionally

frustrate the purpose of this Settlement Agreement.

       8.     Non-Approval. In the event the Settlement Agreement is not approved by the

Bankruptcy Court, nothing herein shall be deemed a representation or admission by any Party



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as to any issue, and this Settlement Agreement shall be deemed null and void, including the

validity of any and all instruments executed by any of the Parties for its performance and

implementation prior to its approval and the Parties shall be returned to the status quo each

Party held prior to entry into this Settlement Agreement. Moreover, the parties hereby agree

that the fact that any Settlement or Settlement Agreement was negotiated and entered into by

and between the Parties shall not be admissible in any future proceeding in the event that this

Settlement Agreement is not approved by the Bankruptcy Court.

       9.      Releases and Waivers. Effective upon entry of the Final Settlement Order and

confirmation of receipt and bank clearance of the Settlement Payment, the Trustee (on behalf

of the Debtors and the Debtors’ bankruptcy estates), and Kerkering, hereby remise, release, and

forever discharge one another of and from any and all claims, sanctions, extra contractual claims,

damages, demands, suits, debts, actions or causes of action of any kind relating to the Debtors, the

Debtors’ bankruptcy estates, the Main Bankruptcy Case, the Kerkering Claims, or the Chapter 5

Claims, including, without limitation, claims sounding in contract, tort, violations of any federal

or state statute or regulation, contribution, and/or indemnity, whether at law or in equity, direct or

derivative, known or unknown, or suspected or unsuspected, that the Trustee (on behalf of the

Debtors and the Debtors’ bankruptcy estates), Kerkering ever had or may now or hereafter own,

hold, have or claim to have in the future by reason of any matter, cause or thing whatsoever from

the beginning of the world to the entry of the Final Settlement Order and confirmation of receipt

and bank clearance of the Settlement Payment, whether such claim was made or could have

been made by any of the Parties, provided, however, that nothing herein shall operate or be

construed to operate as a release or discharge of any of the obligations under this Settlement

Agreement. For the avoidance of doubt, this Settlement Agreement is without prejudice to



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and nothing herein shall operate or be construed to operate as a compromise, impairment,

release, waiver, or as having any effect whatsoever on any and all claims which have been or

may be asserted by the Trustee against any third parties that are not Kerkering.

       10.    Attorneys’ Fees and Costs. The Parties shall each bear their own attorneys’ fees

and costs incurred in regard to all matters arising out of or relating to this Settlement

Agreement, obtaining a Final Settlement Order approving the Settlement Agreement, the Main

Bankruptcy Case, the Kerkering Claims, and the Chapter 5 Claims.

       11.    Notices. All notices to be sent or information to be provided under this

Settlement Agreement shall be sent to the following via email and U.S. Mail:

              a.     For the Trustee:

                     Dave Jennis, Esq.
                     JENNIS LAW FIRM
                     606 East Madison Street
                     Tampa, FL 33602
                     Tel. 813-229-2800
                     Email: DJennis@JennisLaw.com
                     Counsel for the Trustee

                     -and-

                     David C. Cimo, Esq.
                     Marilee A. Mark, Esq.
                     CIMO MAZER MARK PLLC.
                     100 S.E. Second Street, Suite 3650
                     Miami, FL 33131
                     Email: dcimo@cmmlawgroup.com
                     Email: mmark@cmmlawgroup.com
                     Special Litigation Counsel for the Trustee

              b.     For Kerkering:

                     Gary R. Shendell, Esq.
                     Matt Tornincasa, Esq.
                     SHENDELL & POLLOCK, P.L.
                     Tel: 561-241-2323
                     Email: gary@shendellpollock.com


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                      Email: matt@shendellpollock.com
                      Counsel for Kerkering

       12.    Binding Effect. This Settlement Agreement shall be binding upon and inure to

the benefit of the Parties and their officers, directors, shareholders, employees, partners,

attorneys, professionals, affiliates, insurers, reinsurers, representatives, spouses, trustees,

heirs, successors, and assigns.

       13.    Entire Agreement. This Settlement Agreement constitutes the only existing and

binding agreement of settlement among the Parties, and the Parties acknowledge that there

are no other warranties, promises, assurances or representations of any kind, express or

implied, upon which the Parties have relied in entering into this Settlement Agreement, unless

expressly set forth herein. This Settlement Agreement shall not be modified except by written

agreement signed by the Party against whom modification is sought.

       14.    Governing Law/Forum Selection. The Parties agree that the Bankruptcy Court

shall have continuing jurisdiction to enforce the terms of this Settlement Agreement and the

Parties expressly consent to the exercise of personal jurisdiction over them for that limited

purpose. This Settlement Agreement shall be governed by, and construed and enforced in

accordance with the laws of the State of Florida, without regard to its conflict of law

principles, except that the releases provisions of the Settlement Agreement shall be governed

by, and construed and enforced in accordance with the laws of the State of Florida

       15.    Acknowledgment of Terms. The Parties have read and understand the terms of

this Settlement Agreement, have consulted with their respective counsel, and understand and

acknowledge the significance and consequence of each such term. No Party is relying on

information provided by or from any other Party in entering this Settlement Agreement and

there are no duties of disclosure by any Party to any other Party. This Settlement Agreement


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was executed after arm's length negotiations between the Parties and their respective counsel,

and reflects the conclusion of the Parties that this Settlement Agreement is in the best interests

of the Parties. Each Party represents and warrants that the person executing this Settlement

Agreement on his, her, or its behalf has all authority and legal right to do so and separately

acknowledges and represents that this representation and warranty is an essential and material

provision of this settlement and shall survive execution of this Settlement Agreement.

       16.     Advice of Counsel. The Parties acknowledge that they have been represented

by counsel of their own choice in the negotiations leading up to the execution of this

Settlement Agreement, have read this Settlement Agreement, and have had the opportunity to

receive an explanation from legal counsel regarding the legal nature and effect of same. The

Parties have had the Settlement Agreement fully explained to them by their respective counsel

and understand the terms and provisions of this Settlement Agreement and its nature and

effect. The Parties further represent that they are entering into this Settlement Agreement

freely and voluntarily, relying solely upon the advice of their own counsel, and not relying on

the representation of any other Party or of counsel for any other Party.

       17.     Severability. If any term of this Settlement Agreement is deemed

unenforceable, void or against public policy by a Court of competent jurisdiction, that term

shall be severed without affecting the remainder of this Settlement Agreement.

       18.     Neutral Interpretation. In the event any dispute arises among the Parties with

regard to the interpretation of any term of this Settlement Agreement, all of the Parties shall

be considered collectively to be the drafting party and any rule of construction to the effect

that ambiguities are to be resolved against the drafting party shall be inapplicable.

       19.     Execution of Documents. This Settlement Agreement may be executed in



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counterparts, that is, all signatures need not appear on the same copy and execution of counterparts

shall have the same force and effect as if the Parties had signed the same instrument. All such

executed copies shall together constitute the complete Settlement Agreement. The Parties may

execute this Settlement Agreement and create a complete set of signatures by exchanging PDF

copies of the executed signature pages. Signatures transmitted in PDF format shall have the same

effect as original signatures.

       20.     Time is of the Essence. The Parties acknowledge and understand that time is of the

essence in the performance of their respective duties and obligations hereunder.

       21.     Divisions and Headings. The divisions of this Settlement Agreement into sections

and subsections and the use of captions and headings in connection therewith are solely for

convenience and shall have no legal effect in construing the provisions of this Settlement

Agreement.




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